                   the pleadings, AND REMAND this matter to the district court for further
                   proceedings consistent with this order.




                                                                            steo-4;      ,J.
                                                                 Hardesty


                                                                                          J.
                                                                 Douglas


                   CHERRY, J., concurring
                               For the reasons stated in the SFR Investments Pool I, LLC v.
                   U.S. Bank, N.A.,   130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                   that respondent Bank of America lost its lien priority by virtue of the
                   homeowners association's nonjudicial foreclosure sale. I recognize,
                   however, that SFR Investments is now the controlling law and, thusly,
                   concur in the disposition of this appeal.

                                                                      Ck                  J.
                                                                 Cherry



                   cc:   Hon. Ronald J. Israel, District Judge
                         Kang &amp; Associates PLLC
                         Akerman LLP/Las Vegas
                         Eighth District Court Clerk




SUPREME COURT
      OF
    NEVADA
                                                          2
(0) 1947A Wel(M.
